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                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION


    IN RE: NATIONAL PRESCRIPTION                     MDL No. 2804
    OPIATE LITIGATION
                                                     Case No. 1:17-md-2804
    This document relates to:
                                                     JUDGE DAN AARON POLSTER
    All Cases Noted on Attached Exhibit A


                    MASTER STIPULATION AND [PROPOSED] ORDER
                        DISMISSING WITH PREJUDICE CLAIMS
                   PURSUANT TO KROGER SETTLEMENT AGREEMENT

          IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned counsel

of record for the Plaintiff Subdivisions identified in Appendix A (collectively, the “Dismissing

Plaintiffs”) and Defendant The Kroger Co., (“Kroger”)1 that, pursuant to the election of each

Dismissing Plaintiff to participate in the Kroger Settlement Agreement, which is dated March 22,

2024, and is binding on the Dismissing Plaintiffs and Kroger, and which has an Effective Date of

December 30, 2024 (a copy of which is attached as Appendix B), all claims of each Dismissing

Plaintiff against Kroger, including any entity identified on the attached Appendix C, are hereby

voluntarily DISMISSED WITH PREJUDICE, with each party to bear its own costs. The Court

shall retain jurisdiction with respect to the Kroger Settlement Agreement to the extent provided

under that Agreement.2




1
 The Released Entities are set forth in Section I.MMM and Exhibit J of the Kroger Settlement
Agreement, dated as of March 22, 2024, a copy of which is attached as Appendix B.
2
 To the extent any Plaintiff Subdivision is inadvertently included on Appendix A, the Court retains
jurisdiction to hear those disputes. In advance of raising any such issue with the Court, the Plaintiff
Subdivision must meet and confer with defense counsel and Plaintiffs’ Liaison Counsel.
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Dated: February 3, 2025            Respectfully submitted,

Agreed as to form and substance:

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                                   Plaintiffs’ Co-Lead Counsel


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                                   Plaintiffs’ Liaison Counsel




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Kroger
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SO ORDERED this __ day of ___________, 2025.

________________________________
Hon. Dan Aaron Polster
United States District Judge




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                                CERTIFICATE OF SERVICE
       I hereby certify that on February 3, 2025, I electronically filed the foregoing with the

Clerk of Court by using the CM/ECF system. Copies will be served upon counsel of record by,

and may be obtained through, the Court CM/ECF system.


                                             /s/Peter H. Weinberger
                                             Peter H. Weinberger
